Case 2:04-cr-20228-.]PI\/| Document 77 Filed 07/05/05 Page_,l otz Page|D 107

lN THE uN:TED sTATEs DrsancT coulfH-'-‘-° BY -... D-¢~
FoR THE WEsTERN DrsTnicT oF TENNEsD%Eh
WEsTEFiN DlvlsloN -5 PH 3= lB

 

IPWS M. film
uNiTED sTATEs or= AMEchA, °~E§,%%§ ESE?§§IMM
Praimirf,
vs. cn. NO. 04-20228-Ml

LASHUN JENK|NS,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a suppression hearing/report date on July 1, 2005. At that

counsel for the defense requested a change of plea date.

The Court set the chan e of lea for Jul 25 2005 at 9:00 a.m.. in Courtroom 4,

 

9th F|oor of the Federa| Building, Memphis, TN.
The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18

U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need for a speedy tria|.

lT |S SO ORDERED this (Q day of July, 2005.

QMQQ

JO PHIPPS MC CALLA
U |TED STATES D|STH|CT JUDGE

This document entered on the dockets set in compliance
with Huie 55 and/or 32{:)) Fnch on ff ~5:@§

   

UN1TED STEATS D1STR1CT COURT - WETERS DISTR1CT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 77 in
case 2:04-CR-20228 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

 

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

Memphis7 TN 38111

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honcrable J on McCalla
US DISTRICT COURT

